                      Ii
Case 1:11-cv-03765-JBW-RER Document 56 Filed 04/26/13 Page 1 of 1 PageID #: 364



 UNITED STATES DISTRICT COURT                                                                 FilED
                                                                                           IN CLERK'S OFFICE
 EASTERN DISTRICT OF NEW YORK                                                        U.S. DISTRICT COURT E. D. N. y

 --------------------------------------------------)(
 STANISLAW POPLAWSKI eta!                                                            * APR 26 2013 *
                                                                                    BROOKLYN OFFICE
                   v                                                    ORDER
                                                                       CVII-3765 (JBW)
 METROPLE)( ON THE ATLANTICS LLC.
 -------------------------------------------------)(
 Jack B. Weinstein, Senior United States District Judge:




            No objection having been made, the report is approved. Enter judgment for plaintiffs

 as recommended in Appendix A by the Magistrate Judge. Plaintiffs counsel shall submit the

 judgment as soon as practicable.




                                                               JACK B. WEINSTEIN
                                                        SR. UNITED STATES DISTRICT JUDGE


 DATED: 4/25/13
